Case 15-14777   Doc 1   Filed 04/27/15 Entered 04/27/15 10:46:36   Desc Main
                          Document     Page 1 of 52
Case 15-14777   Doc 1   Filed 04/27/15 Entered 04/27/15 10:46:36   Desc Main
                          Document     Page 2 of 52
Case 15-14777   Doc 1   Filed 04/27/15 Entered 04/27/15 10:46:36   Desc Main
                          Document     Page 3 of 52
Case 15-14777   Doc 1   Filed 04/27/15 Entered 04/27/15 10:46:36   Desc Main
                          Document     Page 4 of 52
Case 15-14777   Doc 1   Filed 04/27/15 Entered 04/27/15 10:46:36   Desc Main
                          Document     Page 5 of 52
Case 15-14777   Doc 1   Filed 04/27/15 Entered 04/27/15 10:46:36   Desc Main
                          Document     Page 6 of 52
Case 15-14777   Doc 1   Filed 04/27/15 Entered 04/27/15 10:46:36   Desc Main
                          Document     Page 7 of 52
            Case 15-14777               Doc 1    Filed 04/27/15 Entered 04/27/15 10:46:36                       Desc Main
                                                   Document     Page 8 of 52
B6 Summary (Official Form 6-Summary) (12/14)



                                  UNITED STATES BANKRUPTCY COURT
                                                 Northern District of Illinois

 In re Ida R. Payne, Debtor(s)                                   Case No.

                                                                 Chapter            13


                                        SUMMARY OF SCHEDULES
 Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the total from Schedules
 A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the Debtor’s
 assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual
 debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file a case under Chapter 7, 11, or
 13.



                                                                                   AMOUNTS SCHEDULED
                                                          NO.
  NAME OF SCHEDULE                       ATTACHED
                                                          OF             ASSETS             LIABILITIES               OTHER
                                                        SHEETS
                                          (YES/NO)

  A – Real Property
                                           YES             1        $0

  B – Personal Property
                                           YES             3        $76,560.00

  C – Property Claimed as Exempt
                                           YES             1

  D – Creditors Holding Secured
                                           YES             1                                $12,500.00
      Claims

  E – Creditors Holding Unsecured
                                           YES             3                                $1,821.00
      Priority Claims
      (Total of claims on Schedule E)

  F – Creditors Holding Unsecured
                                           YES             8                                $83,257.70
      Nonpriority Claims

  G – Executory Contracts and
                                           YES             1
      Unexpired Leases

  H - Codebtors
                                           YES             1

  I – Individual Income of Individual
                                           YES             2                                                      $4,039.42
     Debtor(s)

  J – Current Expenditures of
                                           YES             3                                                      $3,800.97
      Individual Debtors

                                                           23       $76,560.00              $97,578.70
            Case 15-14777            Doc 1    Filed 04/27/15 Entered 04/27/15 10:46:36                   Desc Main
                                                Document     Page 9 of 52
Form 6-Statistical Summary (12/14)


                                UNITED STATES BANKRUPTCY COURT
                                              Northern District of Illinois
In re Ida R. Payne, Debtor(s)                                   Case No.

                                                                Chapter         13

 STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
        If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code
(11 U.S.C. § 101(8)), filing a case under 7, 11 or 13, you must report all information requested below.

         [ ] Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are required to
report any information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.


Type of Liability                                                                               Amount

Domestic Support Obligations (from Schedule E)                                                  $0

Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                      $0


Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E)              $0
(whether disputed or undisputed)

Student Loans Obligations (from Schedule F)                                                     $38,644.43
Domestic Support, Separation Agreement, and Divorce Decree Obligations Not
Reported on Schedule E.                                                                         $0

Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)       $0

                                                                                 TOTAL          $38,644.43

State the following:

 Average Income (from Schedule I, Line 12)                          $4,039.42

 Average Expenses (from Schedule J, Line 22)                        $3,800.97

 Current Monthly Income (from Form 22A-1 Line 11; OR,               $5,068.37
 Form 22B Line 14; OR, Form 22C-1 Line 14)

State the following:
 1. Total from Schedule D, “UNSECURED PORTION, IF
 ANY” column.                                                                                   $0
 2. Total from Schedule E, “AMOUNT ENTITLED TO
 PRIORITY” column.                                                 $1,821.00
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY” column.                                                                      $0

 4. Total from Schedule F                                                                       $83,257.70

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                   $83,257.70
             Case 15-14777                Doc 1        Filed 04/27/15 Entered 04/27/15 10:46:36                                  Desc Main
                                                        Document     Page 10 of 52
B6A (Offical Form B6A) (12/07)

In re Ida R. Payne , Debtor(s)             Case No.



                                                SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the
debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."

   Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to
hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim."

    If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.




                                                                                      Husband, Wife,
              DESCRIPTION                                 NATURE OF                                     CURRENT VALUE OF                  AMOUNT




                                                                                       Community
                                                                                                        DEBTOR’SINTEREST



                                                                                         Joint, or
                  AND                                      DEBTOR’S                                        IN PROPERTY,                      OF
               LOCATION                                    INTEREST                                    WITHOUT DEDUCTING                  SECURED
                   OF                                    IN PROPERTY                                   ANY SECURED CLAIM                   CLAIM
               PROPERTY                                                                                   OR EXEMPTION



NONE




                                                                                      Total> $0

                                                                                       (Report also on Summary of Schedules)
               Case 15-14777                   Doc 1     Filed 04/27/15 Entered 04/27/15 10:46:36                                  Desc Main
                                                          Document     Page 11 of 52
B6B (Official Form B6) (12/07)


In re Ida R. Payne , Debtor(s)                  Case No.


                                                SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an
"x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified with
the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community own
the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

   Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property." If the property is
being held for a minor child, simply state the child’s initials and the name and address of child’s parent or guardian, such as “A.B., a minor child, by John Doe,
guardian”. Do not disclose the child’s name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


                                                                                                                        H
                                                N                                                                              CURRENT MARKET VALUE
         TYPE OF                                O                                                                       W      OF DEBTOR'S INTEREST IN
        PROPERTY                                N          DESCRIPTION AND LOCATION                                     J        PROPERTY, WITHOUT
                                                E                OF PROPERTY                                            C      DEDUCTING ANY SECURED
                                                                                                                                CLAIM OR EXEMPTION

1. Cash on hand.                                       Funds in Debtor’s possession                                          $1,000.00

2. Checking, savings or other financial         X
accounts, certificates of deposit, or shares
in banks, savings and loan, thrift, building
and loan, and homestead associations, or
credit unions, brokerage houses, or
cooperatives.

3. Security deposits with public utilities,     X
telephone companies, landlords, and
others.

4. Household goods and furnishings,                    Furniture and appliances in Debtor’s residence                        $250.00
including audio, video, and computer
equipment.
5. Books; pictures and other art objects;       X
antiques; stamp, coin, record, tape,
compact disc, and other collections or
collectibles.

6. Wearing apparel.                                    Clothing                                                              $150.00
7. Furs and jewelry.                            X
8. Firearms and sports, photo-                  X
graphic, and other hobby
equipment.
9. Interests in insurance policies. Name        X
insurance company of each policy and
itemize surrender or refund value of each.


10. Annuities. Itemize and name each            X
issuer.
              Case 15-14777                   Doc 1      Filed 04/27/15 Entered 04/27/15 10:46:36   Desc Main
                                                          Document     Page 12 of 52
B6B (Official Form 6B) (12/07) -- Cont.

In re Ida R. Payne, Debtor                    Case No.

                                              SCHEDULE B - PERSONAL PROPERTY
                                                                (Continuation Sheet)

                                                                                            H
                                               N                                            W   CURRENT MARKET VALUE
       TYPE OF                                 O         DESCRIPTION AND LOCATION               OF DEBTOR'S INTEREST IN
                                                                                            J
      PROPERTY                                 N              OF PROPERTY                         PROPERTY, WITHOUT
                                               E                                            C   DEDUCTING ANY SECURED
                                                                                                 CLAIM OR EXEMPTION

11. Interests in an education IRA as           X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan as
defined in 26 U.S.C. § 529(b)(1). Give
particulars. (File separately the record(s)
of any such interest(s). 11U.S.C. § 521
(c); Rule 1007(b)).

12. Interests in IRA, ERISA, Keogh, or                Pension                                   $60,000.00
other pension or profit sharing plans.
Itemize.


13. Stock and interests in incorporated        X
and unincorporated businesses. Itemize.

14. Interests in partnerships or joint         X
ventures. Itemize.

15. Government and corporate                   X
bonds and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                       X
17. Alimony, maintenance, support, and         X
property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to             X
debtor including tax refunds. Give
particulars.
19. Equitable or future interests, life
estates, and rights or powers exercis-         X
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent               X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliquidated          X
claims of every nature, including tax
refunds, counterclaims of the debtor,
and rights to setoff claims. Give
estimated value of each.

22. Patents, copyrights, and other             X
intellectual property. Give particulars.


23. Licenses, franchises, and other            X
general intangibles. Give particulars.
              Case 15-14777                  Doc 1     Filed 04/27/15 Entered 04/27/15 10:46:36                           Desc Main
                                                        Document     Page 13 of 52

B6B (Official Form B6) (12/07) --Cont.

 In re Ida R. Payne , Debtor(s)               Case No.


                                              SCHEDULE B -PERSONAL PROPERTY
                                                                  (Continuation Sheet)


                                                                                                                       CURRENT MARKET VALUE
                                               N                                                                 H     OF DEBTOR'S INTEREST IN
          TYPE OF                              O         DESCRIPTION AND LOCATION                                W       PROPERTY, WITHOUT
         PROPERTY                              N                                                                 J     DEDUCTING ANY SECURED
                                               E               OF PROPERTY                                       C      CLAIM OR EXEMPTION


  24. Customer lists of other compilations     X
  containing personally identifiable
  information (as defined in 11 U.S.C. §
  101(41A)) provided to the debtor by
  individuals in connection with obtaining
  a product or service from the debtor
  primarily for personal, family, or
  household purposes.
  25. Automobiles, trucks, trailers, and              2009 Jeep Cherokee Laredo                                       $15,150.00
  other vehicles and accessories.                     (128,000 miles)

  26. Boats, motors, and accessories.          X

  27. Aircraft and accessories.                X
  28. Office equipment, furnishings, and       X
  supplies.

  29. Machinery, fixtures, equipment,          X
  and supplies used in business.

  30. Inventory.                               X
  31. Animals.                                        3 mixed breed cats                                              $10.00
  32. Crops - growing or harvested. Give       X
  particulars.

  33. Farming equipment and implements.        X

  34. Farm supplies, chemicals, and            X
  feed.

  35. Other personal property of any kind      X
  not already listed. Itemize.




                                                     _____0_______ continuation sheets attached              Total    $76,560.00

                                                               (Include amounts from any continuation sheets attached. Report total also on Summary)
            Case 15-14777             Doc 1        Filed 04/27/15 Entered 04/27/15 10:46:36                       Desc Main
                                                    Document     Page 14 of 52


B6C (Official Form 6C) (12/07)

In re Ida R. Payne , Debtor(s)             Case No. ________________


                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
Debtor claims the exemptions to which debtor is entitled under:    [ ] Check if debtor claims a homestead exemption that exceeds $136,875.00
(Check one box)
[X] 11 U.S.C. § 522(b)(2)
[ ] 11 U.S.C. § 522(b)(3)



   DESCRIPTION OF                         SPECIFIY LAW                          VALUE OF                        CURRENT MARKET
     PROPERTY                            PROVIDING EACH                         CLAIMED                        VALUE OF PROPERTY
                                                                               EXEMPTION                       WITHOUT DEDUCTING
                                           EXEMPTION                                                               EXEMPTION

Personal Property                                                       $4,000.00
Cash on hand                          735 ILCS 5/12-1001 (b)                                                  $1,000.00
Furniture                             735 ILCS 5/12-1001 (b)                                                  $250.00
3 mixed breed cats                    735 ILCS 5/12-1001 (b)                                                  $10.00

Wearing Apparel                                                         100%
Clothing                              735 ILCS 5/12-1001 (a) (e)                                              $150.00

Vehicle                                                                 $2,400.00
2009 Jeep Cherokee Laredo             735 ILCS 5/12-1001 (c)                                                  $15,150.00

Pension                                                                 100%
Pension                               735 ILCS 5/12-1006                                                      $60,000.00
                  Case 15-14777                         Doc 1                     Filed 04/27/15 Entered 04/27/15 10:46:36                                              Desc Main
                                                                                   Document     Page 15 of 52
    B6D (Official Form 6D) (12/07)

    In re Ida R. Payne , Debtor(s)                                             Case No.

                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured by property of the debtor
as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be
provided if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of
trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child’s initials and the name and address of the child’s parent
or guardian, such as “A.B., a minor child, by John Doe, guardian”. Do not disclose the child’s name. See 11 U.S.C. §112 and Fed.R.Bankr.P. 1007(m). If all secured
creditors will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community
may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
           If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on
the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary
of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical
Summary of Certain Liabilities and Related Data.

           [ ] Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                                                                           UNLIQUIDATED
                                                         Joint, or Community




                                                                                                              CONTINGENT
                                                                                    DATE CLAIM WAS                                                        AMOUNT OF
                                             CODEBTOR




                                                                                                                                          DISPUTED
      CREDITOR'S NAME,                                                            INCURRED, NATURE OF                                                       CLAIM                    UNSECURED
                                                         Husband, Wife,




      MAILING ADDRESS                                                                  LIEN, AND                                                           WITHOUT                    PORTION,
    INCLUDING ZIP CODE,                                                             DESCRIPTION AND                                                       DEDUCTING                    IF ANY
   AND ACCOUNT NUMBER                                                              VALUE OF PROPERTY                                                       VALUE OF
     (See instructions above.)                                                      SUBJECT TO LIEN                                                      COLLATERAL

 ACCT. NO.                                                                        2009 Jeep Cherokee                                                   $12,500.00
                                                                                  Laredo
 Easy Car Credit Inc.
 c/o Pelican Auto Fin.
 PO Box 80496
 City of Indstry, CA 917168404                                                    VALUE $15,150.00
 ACCT. NO.                                                                        2009 Jeep Cherokee                                                   Notice Only
 1279                                                                             Laredo
 Easy Car Credit Inc
 3645 N. Western Avenue
 Chicago, IL 60618
                                                                                  VALUE $15,150.00
 ACCT. NO.




                                                                                  VALUE $


    _0_ continuation sheets attached                                                                             Subtotal                             $12,500.00                 $
                                                                                                       (Total of this page)

                                                                                                                  Total                               $12,500.00                 $
                                                                                                  (Use only on last page)
                                                                                                                                                     (Report also on Summary   (If applicable, report also
                                                                                                                                                     of Schedules.)            on Statistical Summary
                                                                                                                                                                               of Certain Liabilities and
                                                                                                                                                                               Related Data.)
              Case 15-14777             Doc 1       Filed 04/27/15 Entered 04/27/15 10:46:36                             Desc Main
                                                     Document     Page 16 of 52

B6E (Official Form 6E) (12/07)

In re Ida R. Payne , Debtor(s)                    Case No.


           SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child’s initials and the name and address of the child’s parent or guardian, such as
“A.B., a minor child, by John Doe, guardian”. Do not disclose the child’s name. See II U.S.C. § 112 and Fed.R.Bankr. P. 1007(m).
    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity
on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them,
or the marital community may be liable on each claim by placing an "H", "W", "J" or "C" in the column labeled "Husband, Wife, Joint, or
Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
these three columns.)

   Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this
Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

   Report the total of amounts entitled to priority listed on each sheet in the box labeled “Subtotal” on each sheet. Report the total of all
amounts entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

   Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual
debtors with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

[ ] Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
[ ] Domestic Support Obligations

  Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
U.S.C. § 507(a)(1).
[ ] Extensions of credit in an involuntary case

 Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

[ ] Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

[ ] Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
               Case 15-14777             Doc 1      Filed 04/27/15 Entered 04/27/15 10:46:36                          Desc Main
                                                     Document     Page 17 of 52

B6E (Official Form 6E) (12/07) – Cont.



In re Ida R. Payne , Debtor(s)           Case No.


[ ] Certain farmers and fishermen

  Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

[ ] Deposits by individuals

  Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
  that were not delivered or provided. 11 U.S.C. § 507(a)(7).

[X] Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

[ ] Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

[ ] Claims for Death or Personal Injury While Debtor was Intoxicated

    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
a drug, or another substance. 11 U.S.C. § 507 (a)(10).




* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                              ____1_____ continuation sheets attached
              Case 15-14777                   Doc 1                                        Filed 04/27/15 Entered 04/27/15 10:46:36                                               Desc Main
                                                                                            Document     Page 18 of 52
B6E (Official Form 6E) (12/07) – Cont.

In re Ida R. Payne , Debtor(s)                      Case No.

               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                        (Continuation Sheet)
                                                                                                                                                                Type of Priority for Claims Listed on this Sheet




                                                    Husband, Wife, Joint,




                                                                                                                                            UNLIQUIDATED
                                                                                                                                COTINGENT
                                                                                                                                                                       AMOUNT




                                                                            or Community
      CREDITOR'S NAME,                                                                        DATE CLAIM WAS                                                                         AMOUNT




                                                                                                                                                           DISPUTED
                                                                                                                                                                                                    AMOUNT



                                         CODEBTOR
      MAILING ADDRESS                                                                          INCURRED AND                                                            OF CLAIM     ENTITLED          NOT
    INCLUDING ZIP CODE,                                                                       CONSIDERATION                                                                            TO          ENTITLED
   AND ACCOUNT NUMBER                                                                            FOR CLAIM                                                                          PRIORITY           TO
     (See instructions above.)                                                                                                                                                                     PRIORITY,
                                                                                                                                                                                                     IF ANY



 ACCOUNT NO.                                                                               2014 Income Tax                                                            $1,821.00     $1,821.00      $0
 6712
 Internal Revenue Service
 PO Box 7346
 Philadelphia, PA 19101-
 7346
 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 Sheet no._1_of_2_continuation sheets attached                                                                                Subtotal                                              $1,821.00
                                                                                                                                                                      $1,821.00
 to Schedule of Creditors holding Priority                                                                          (Totals of this page)
 Claims

                                                                                                                                     Total                            $1,821.00
                                                                                           (Use only on last page of the completed Schedule E.
                                                                                           Report also on the Summary of Schedules)

                                                                                                                                     Totals                                         $1,821.00       $0
                                                                                           (Use only on last page of the completed Schedule E. If
                                                                                           applicable, report also on the Statistical Summary of
                                                                                           Certain Liabilities and Related Data.)
               Case 15-14777                     Doc 1                                         Filed 04/27/15 Entered 04/27/15 10:46:36                                         Desc Main
                                                                                                Document     Page 19 of 52

B6F (Official Form 6F) (12/07)

      In re Ida R. Payne , Debtor(s)                                                          Case No.


            SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee
and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child’s initials and the name and address of the child’s parent or
guardian, such as “A.B., a minor child, by John Doe, guardian”. Do not disclose the child’s name. See 11 U.S.C § 112 and Fed. R. Bankr. P. 1007(m). Do not include
claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community
may be liable on each claim by placing an "H", "W", "J" or "C" in the column labeled "Husband, Wife, Joint, or Community."

     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim
is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns).

   Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

[ ] Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                       Husband, Wife, Joint,




                                                                                                                                               UNLIQUIDATED
                                                                                                   DATE CLAIM WAS


                                                                                                                                  CONTINGENT
      CREDITOR'S NAME,                                                                              INCURRED AND                                                                    AMOUNT
                                            CODEBTOR

                                                                               or Community




                                                                                                                                                               DISPUTED
      MAILING ADDRESS                                                                            CONSIDERATION FOR                                                                     OF
    INCLUDING ZIP CODE,                                                                           CLAIM. IF CLAIM IS                                                                 CLAIM
   AND ACCOUNT NUMBER                                                                           SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                         STATE.


 ACCOUNT NO.                                                                                    Student Loan                                                              $4,841.38
 6712
 Dept of Educ Ln Svcs
 c/o Navient Solutions
 PO Box 9635
 WilkesBarre, PA 18773-9635

 ACCOUNT NO.                                                                                    Student Loans                                                             $541.00
 2719xxxx                                                                                       $433.00
 IL Student Assist Comm                                                                         $108.00
 1755 Lake Cook Road
 Deerfield, IL 60015-5215


 ACCOUNT NO.                                                                                    Student Loan                                                              $7,508.00
 24476-1
 Sallie Mae
 PO Box 9500
 Wilkes-Barre, PA 18773-
 9500


 _7_ continuation sheets attached                                                                                                              Subtotal                   $12,890.38
                                                                                                                                     (Total of this page)

                                                                                                                                                       Total              $
                                                                                                   (Use only on last page of the completed Schedule F.)
                                                                                      (Report also on Summary of Schedules and, if applicable, on the
                                                                                       Statistical Summary of Certain Liabilities and Related Data.)
              Case 15-14777                   Doc 1                                         Filed 04/27/15 Entered 04/27/15 10:46:36                                             Desc Main
                                                                                             Document     Page 20 of 52

B6F (Official Form 6F) (12/07) – Cont.

In re Ida R. Payne , Debtor(s)                      Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                          (Continuation Sheet)




                                                     Husband, Wife, Joint,




                                                                                                                                             UNLIQUIDATED
                                                                                               DATE CLAIM WAS




                                                                                                                                CONTINGENT
      CREDITOR'S NAME,                   CODEBTOR                                               INCURRED AND                                                                      AMOUNT

                                                                             or Community




                                                                                                                                                             DISPUTED
      MAILING ADDRESS                                                                        CONSIDERATION FOR                                                                       OF
    INCLUDING ZIP CODE,                                                                       CLAIM. IF CLAIM IS                                                                   CLAIM
   AND ACCOUNT NUMBER                                                                       SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                     STATE.


 ACCOUNT NO.                                                                                Private Student Loan                                                        $8,477.00
 0052
 College Loan Corp
 c/o Performant Recovery
 333 N. Canyons Pkwy #100
 Livermore, CA 94551-7661

 ACCOUNT NO.                                                                                Student Loan                                                                $2,854.05
 6712
 Sallie Mae c/o TXGSL
 PO Box 83100
 Round Rock, TX 8683-3100


 ACCOUNT NO.                                                                                Repossessed Vehicle                                                         $11,320.41
 8611                                                                                       2008 Nissan Maxima
 GM Financial
 c/o Americredit
 PO Box 183853
 Arlington, TX 76096

 ACCOUNT NO.                                                                                                                                                            $536.43
 0026
 New Trier Fed Cr Union
 642 Green Bay Road
 Kenilworth, IL 60043-1003


 ACCOUNT NO.                                                                                                                                                            $17.00
 003 175470
 Swedish Emergency Assoc
 PO Box 366
 Hinsdale, IL 60522



 Sheet no._1_of_7_continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                             Subtotal                   $23,204.89
 Unsecured Nonpriority Claims.                                                                                                     (Total of this page)

                                                                                                                                                     Total              $
                                                                                                 (Use only on last page of the completed Schedule F.)
                                                                                    (Report also on Summary of Schedules and, if applicable, on the
                                                                                     Statistical Summary of Certain Liabilities and Related Data.)
              Case 15-14777                   Doc 1                                        Filed 04/27/15 Entered 04/27/15 10:46:36                                             Desc Main
                                                                                            Document     Page 21 of 52

B6F (Official Form 6F) (12/07) – Cont.

In re Ida R. Payne , Debtor(s)               Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                         (Continuation Sheet)




                                                    Husband, Wife, Joint,




                                                                                                                                            UNLIQUIDATED
                                                                                              DATE CLAIM WAS




                                                                                                                               CONTINGENT
      CREDITOR'S NAME,                   CODEBTOR                                              INCURRED AND                                                                      AMOUNT

                                                                            or Community




                                                                                                                                                            DISPUTED
      MAILING ADDRESS                                                                       CONSIDERATION FOR                                                                       OF
    INCLUDING ZIP CODE,                                                                      CLAIM. IF CLAIM IS                                                                   CLAIM
   AND ACCOUNT NUMBER                                                                      SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                    STATE.


 ACCOUNT NO.                                                                                                                                                           $39.01
 53333472
 Swedish Covenant Hospital
 5145 N. California Ave
 Chicago, IL 60625-3642


 ACCOUNT NO.                                                                                                                                                           $374.41
 4278 / 52591302
 Swedish Covenant Hospital
 c/o Armor Systems Corp
 1700 Kiefer Drive, #1
 Zion, IL 60099-5105
 ACCOUNT NO.                                                                                                                                                           $1,000.00

 Verizon Wireless
 Correspondence Team
 PO Box 5029
 Wallingford, CT 06492

 ACCOUNT NO.                                                                                                                                                           $500.00
 3186
 Emory Univ Hosp Midtown
 PO Box 2265
 Norcross, GA 30091-2265


 ACCOUNT NO.                                                                                                                                                           $406.21
 51431453
 Emory Healthcare
 PO Box 102398
 Atlanta, GA 30368-2398



 Sheet no._2_of_7_continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                            Subtotal                   $2,319.63
 Unsecured Nonpriority Claims.                                                                                                    (Total of this page)

                                                                                                                                                    Total              $
                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                   (Report also on Summary of Schedules and, if applicable, on the
                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
              Case 15-14777                   Doc 1                                         Filed 04/27/15 Entered 04/27/15 10:46:36                                            Desc Main
                                                                                             Document     Page 22 of 52

B6F (Official Form 6F) (12/07) – Cont.

In re Ida R. Payne , Debtor(s)                                                             Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                         (Continuation Sheet)




                                                    Husband, Wife, Joint,




                                                                                                                                            UNLIQUIDATED
                                                                                                DATE CLAIM WAS




                                                                                                                               CONTINGENT
      CREDITOR'S NAME,                   CODEBTOR                                                INCURRED AND                                                                    AMOUNT

                                                                            or Community




                                                                                                                                                            DISPUTED
      MAILING ADDRESS                                                                         CONSIDERATION FOR                                                                     OF
    INCLUDING ZIP CODE,                                                                        CLAIM. IF CLAIM IS                                                                 CLAIM
   AND ACCOUNT NUMBER                                                                        SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                      STATE.


 ACCOUNT NO.                                                                                                                                                           $938.96
 9602
 American Info/Cr One Bk
 c/o Midland Funding LLC
 PO Box 26894
 Okla City, OK 73126-8941

 ACCOUNT NO.                                                                                 Service at                                                                $800.00
 6712/3122                                                                                   8413 Monticello Avenue
 ComEd Residential                                                                           Skokie, IL 60076
 3 Lincoln Center
 Bankruptcy Section
 Okbrk Terrace, IL 60181
 ACCOUNT NO.                                                                                                                                                           $56.00
 HORSESHOE2654xxxx
 Certegy
 PO Box 30046
 Tampa, FL 33630-3046


 ACCOUNT NO.                                                                                                                                                           $979.44
 1575-2
 IL Bell Telephone Co
 c/o AT& T Services
 One AT&T Way, Rm3A104
 Bedminster, NJ 07921

 ACCOUNT NO.                                                                                                                                                           $5,233.50

 Matt Cohen & Assoc LLC
 155 N. Michigan Ave, #715
 Chicago, IL 60601



 Sheet no._3_of_7_continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                            Subtotal                   $8,007.90
 Unsecured Nonpriority Claims.                                                                                                    (Total of this page)

                                                                                                                                                    Total              $
                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                   (Report also on Summary of Schedules and, if applicable, on the
                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
              Case 15-14777                   Doc 1                                         Filed 04/27/15 Entered 04/27/15 10:46:36                                         Desc Main
                                                                                             Document     Page 23 of 52

B6F (Official Form 6F) (12/07) – Cont.

In re Ida R. Payne , Debtor(s)                                                             Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                         (Continuation Sheet)




                                                    Husband, Wife, Joint,




                                                                                                                                            UNLIQUIDATED
                                                                                                DATE CLAIM WAS




                                                                                                                               CONTINGENT
      CREDITOR'S NAME,                   CODEBTOR                                                INCURRED AND                                                                    AMOUNT

                                                                            or Community




                                                                                                                                                            DISPUTED
      MAILING ADDRESS                                                                         CONSIDERATION FOR                                                                     OF
    INCLUDING ZIP CODE,                                                                        CLAIM. IF CLAIM IS                                                                 CLAIM
   AND ACCOUNT NUMBER                                                                        SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                      STATE.


 ACCOUNT NO.                                                                                                                                                           $777.88
 75501
 Peoples Gas Light & Coke
 130 E. Randolph Drive
 Chicago, IL 60601


 ACCOUNT NO.                                                                                                                                                           $2,929.53
 0102
 Check n Go
 c/o American Infosource
 PO Box 248838
 Okla City, OK 73124-8838
 ACCOUNT NO.                                                                                                                                                           $422.00
 517760744931xxxx
 First Premier Bank
 3820 N. Louise Avenue
 Sioux Falls, SD 57107


 ACCOUNT NO.                                                                                 Surrendered 2006 Ford                                                     $8,722.00
 M201303162334xxxx                                                                           Freestyle
 Total Finance
 2917 W. Irving Park
 Chicago, IL 60618


 ACCOUNT NO.                                                                                 Student Loan                                                              $6,501.00
 6712
 AFSA College Loan Corp
 501 Bleecker Street
 Utica, NY 13501-2401



 Sheet no._4_of_7_continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                            Subtotal                   $19,352.41
 Unsecured Nonpriority Claims.                                                                                                    (Total of this page)

                                                                                                                                                    Total              $
                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                   (Report also on Summary of Schedules and, if applicable, on the
                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
              Case 15-14777                   Doc 1                                        Filed 04/27/15 Entered 04/27/15 10:46:36                                          Desc Main
                                                                                            Document     Page 24 of 52

B6F (Official Form 6F) (12/07) – Cont.

In re Ida R. Payne , Debtor(s)               Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                         (Continuation Sheet)




                                                    Husband, Wife, Joint,




                                                                                                                                            UNLIQUIDATED
                                                                                              DATE CLAIM WAS




                                                                                                                               CONTINGENT
      CREDITOR'S NAME,                   CODEBTOR                                              INCURRED AND                                                                    AMOUNT

                                                                            or Community




                                                                                                                                                            DISPUTED
      MAILING ADDRESS                                                                       CONSIDERATION FOR                                                                     OF
    INCLUDING ZIP CODE,                                                                      CLAIM. IF CLAIM IS                                                                 CLAIM
   AND ACCOUNT NUMBER                                                                      SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                    STATE.


 ACCOUNT NO.                                                                               8/2009                                                                      $1,765.00
 9092524476100072xxxx                                                                      Student Loan
 Sallie Mae
 PO Box 9500
 Wilkes Barre, PA 18773-
 9500

 ACCOUNT NO.                                                                               8/2009                                                                      $1,232.00
 9092524476100062xxxx                                                                      Student Loan
 Sallie Mae
 PO Box 9500
 Wilkes Barre, PA 18773-
 9500
 ACCOUNT NO.                                                                               12/2006                                                                     $1,984.00
 90925244761E0022xxxx                                                                      Student Loan
 Dept of Ed/Sallie Mae                                                                     Deferred until 2/2017
 11100 USA Pkwy
 Fishers, IN 46037-9203


 ACCOUNT NO.                                                                               12/2008                                                                     $2,941.00
 90925244761E0012xxxx                                                                      Student Loan
 Dept of Ed/Sallie Mae                                                                     Deferred until 2/2017
 11100 USA Pkwy
 Fishers, IN 46037-9203


 ACCOUNT NO.                                                                               Tickets                                                                     $1,796.79
 2013 M1 680571
 City of Chicago
 c/o Arnold Scott Harris
 111 W. Jackson, #600
 Chicago, IL 60604


 Sheet no._5_of_7_continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                            Subtotal                   $9,718.79
 Unsecured Nonpriority Claims.                                                                                                    (Total of this page)

                                                                                                                                                    Total              $
                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                   (Report also on Summary of Schedules and, if applicable, on the
                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
              Case 15-14777                   Doc 1                                         Filed 04/27/15 Entered 04/27/15 10:46:36                                          Desc Main
                                                                                             Document     Page 25 of 52

B6F (Official Form 6F) (12/07) – Cont.

In re Ida R. Payne , Debtor(s)                      Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                          (Continuation Sheet)




                                                     Husband, Wife, Joint,




                                                                                                                                             UNLIQUIDATED
                                                                                               DATE CLAIM WAS




                                                                                                                                CONTINGENT
      CREDITOR'S NAME,
                                         CODEBTOR
                                                                                                INCURRED AND                                                                      AMOUNT
                                                                             or Community




                                                                                                                                                             DISPUTED
      MAILING ADDRESS                                                                        CONSIDERATION FOR                                                                       OF
    INCLUDING ZIP CODE,                                                                       CLAIM. IF CLAIM IS                                                                   CLAIM
   AND ACCOUNT NUMBER                                                                       SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                     STATE.


 ACCOUNT NO.                                                                                Tickets                                                                     $200.00
 170100259221828
 City of Rolling Meadows
 Photo Enforcement
 3600 Kirchoff Road
 Rolling Meadows, IL 0008

 ACCOUNT NO.                                                                                Tickets                                                                     $535.00
 Various
 Village of Skokie
 5127 Oakton Street
 Skokie, IL 60077


 ACCOUNT NO.                                                                                Plate # R864347                                                    X        $3,337.70
 Various                                                                                    $3,054.50
 Illinois Tollway                                                                           Plate # 6376086
 c/o Arnold Scott Harris                                                                    $283.20
 111 W. Jackson, #600                                                                       While her 2006 Ford
 Chicago, IL 60604                                                                          Freestyle was stolen.
                                                                                            Vehicle has been
                                                                                            surrendered.
 ACCOUNT NO.                                                                                Tickets                                                                     $1,891.00
 Various                                                                                    5148348720- $1,769.00
 City of Chicago                                                                            5138609320 - $122.00
 c/o Arnold Scott harris
 111 W. Jackson, #600
 Chicago, IL 60604

 ACCOUNT NO.                                                                                Tickets                                                                     $300.00
 Various
 City of Evanston
 2100 Ridge Avenue
 Evanston, IL 60201



 Sheet no._6_of_7_continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                             Subtotal                   $6,263.70
 Unsecured Nonpriority Claims.                                                                                                     (Total of this page)

                                                                                                                                                     Total              $
                                                                                                 (Use only on last page of the completed Schedule F.)
                                                                                    (Report also on Summary of Schedules and, if applicable, on the
                                                                                     Statistical Summary of Certain Liabilities and Related Data.)
              Case 15-14777                   Doc 1                                        Filed 04/27/15 Entered 04/27/15 10:46:36                                          Desc Main
                                                                                            Document     Page 26 of 52


B6F (Official Form 6F) (12/07) – Cont.

In re Ida R. Payne , Debtor(s)               Case No.


      SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                         (Continuation Sheet)



                                                    Husband, Wife, Joint,




                                                                                                                                            UNLIQUIDATED
                                                                                              DATE CLAIM WAS




                                                                                                                               CONTINGENT
      CREDITOR'S NAME,                                                                         INCURRED AND                                                                    AMOUNT
                                         CODEBTOR

                                                                            or Community




                                                                                                                                                            DISPUTED
      MAILING ADDRESS                                                                       CONSIDERATION FOR                                                                     OF
    INCLUDING ZIP CODE,                                                                      CLAIM. IF CLAIM IS                                                                 CLAIM
   AND ACCOUNT NUMBER                                                                      SUBJECT TO SETOFF, SO
     (See instructions above.)                                                                    STATE.


 ACCOUNT NO.                                                                                                                                                           $1,500.00
 unknown
 Rent-A-Center
 7570 N. Western Avenue
 Chicago, IL 60645


 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 ACCOUNT NO.




 Sheet no._7_of_7_continuation sheets
 attached to Schedule of Creditors Holding
                                                                                                                                            Subtotal                   $1,500.00
 Unsecured Nonpriority Claims.                                                                                                    (Total of this page)

                                                                                                                                                    Total              $83,257.70
                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                   (Report also on Summary of Schedules and, if applicable, on the
                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
             Case 15-14777               Doc 1       Filed 04/27/15 Entered 04/27/15 10:46:36                              Desc Main
                                                      Document     Page 27 of 52
B6G (Official Form 6G) (12/07)



       In re Ida R. Payne , Debtor(s)              Case No.


             SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
      State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
     Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one
     of the leases or contracts, state the child’s initials and the name and address of the child’s parent or guardian, such as “A.B., a minor child, by
     John Doe, guardian”. Do not disclose the child’s name. See, 11 U.S.C. §112 and Fed. R. Bank. P. 1007(m).

 [ ] Check this box if debtor has no executory contracts or unexpired leases.




                                                                                  DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
      NAME AND MAILING ADDRESS, INCLUDING ZIP                                      DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
        CODE, OF OTHER PARTIES TO LEASE OR                                        NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                    CONTRACT.                                                          NUMBER OF ANY GOVERNMENT CONTRACT.




  C.I.G. Management                                                             $950.00 monthly residential lease
  1528 W. Morse Avenue
  Chicago, IL 60626
           Case 15-14777              Doc 1         Filed 04/27/15 Entered 04/27/15 10:46:36                           Desc Main
                                                     Document     Page 28 of 52

B6H (Official Form 6H) (12/07)

    In re Ida R. Payne , Debtor(s)                Case No.


                                                 SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
by the debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property
state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the
debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a
minor child is a co-debtor or creditor, state the child’s initials and the name and address of the child’s parent or guardian, such as “A.B., a
minor child, by John Doe, guardian”. Do not disclose the child’s name. See, 11 U.S.C. §112 and Fed. Bankr. P. 1007(m).

   [X] Check this box if debtor has no codebtors.



     NAME AND ADDRESS OF CODEBTOR                                              NAME AND ADDRESS OF CREDITOR
              Case 15-14777             Doc 1      Filed 04/27/15 Entered 04/27/15 10:46:36                          Desc Main
B6I (Official Form 6I) (12/13)
                                                    Document     Page 29 of 52
Debtor 1        Ida R. Payne                                                           Check if this is:
Debtor 2                                                                                                   An amended filing
United States Bankruptcy Court for the Northern District of Illinois                                       A supplement showing
Case No.                                                                                                   post-petition Chapter 13
                (if known)                                                                                 income as of the following date:

                                                                                                           mm/dd/yyyy
                                               SCHEDULE I - YOUR INCOME
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

PART 1: Describe Employment
1. Fill in employment information.              Debtor 1                                         Debtor 2 or non-filing spouse
If you have more than one job, attach           Employment          X          Employed                             Employed
separate page with information about            Status                         Not employed                         Not employed
additional employers.

Include part-time, seasonal, or self-
employed work.
                   Occupation:                  Administrative Assistant
Occupation may include student
or homemaker, if it applies.
                   Employer’s Name:             New Trier High School PPS

                     Employer’s Address:        385 Winnetka Avenue

                                                Winnetka, IL 60093



                     How long employed there? 10 years

PART 2: Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include
your non-filing spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the
lines below. If you need more space, attaché a separate sheet to this form.
                                                                                                For Debtor 2 or
                                                                               For Debtor 1     non-filing spouse
  2. List monthly gross wages, salary and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. $5,070.00           $0
  3. Estimate and list monthly overtime pay.                                   $0               $0
  4. Calculate gross income. Add lines 2 and 3.                                $5,070.00        $0
  5. List all payroll deductions:
          5a.     Tax, Medicare, and Social Security Deductions                $659.10          $0
          5b.     Mandatory contributions for retirement plans                 $223.08          $0
          5c.     Voluntary contributions for retirement plans                 $0               $0
          5d.     Required repayments of retirement fund loans                 $0               $0
          5e.     Insurance                                                    $45.36           $0
          5f.     Domestic support obligations                                 $0               $0
          5g.     Union dues                                                   $103.04          $0
          5h.     Other deductions.
                            Specify:                                           $0               $0
  6. Add the payroll deductions. Add lines 5a to 5h.                           $1,030.58        $0

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                 $4,039.42          $0
Form B 6I                                                 Schedule I - Your Income                                             page 1
            Case 15-14777          Doc 1       Filed 04/27/15 Entered 04/27/15 10:46:36                    Desc Main
Debtor 1         Ida R. Payne                   Document     Page 30 of 52
Debtor 2                                                      Case No.
                                                                                (if known)

                                           SCHEDULE I - YOUR INCOME
                                                  (continued)
                                                                                                  For Debtor 2 or
                                                                                For Debtor 1      non-filing spouse
 8. List all other income regularly received:
   8a. Net income from rental property and from operating a
         Business, profession, or farm
         Attach a statement for each property and business showing
         gross receipts, ordinary and necessary business expenses,
         and the total monthly net income.                                      $0                $0
   8b. Interest and dividends                                                   $0                $0
   8c. Family support payments that you, a non-filing spouse, or
         A dependent regularly receive
         Include alimony, spousal support, child support, maintenance,
         divorce settlement, and property settlement.                           $0                $0
   8d. Unemployment compensation                                                $0                $0
   8e. Social Security                                                          $0                $0
   8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash
         assistance that you receive, such as food stamps (benefits under
         the Supplemental Nutrition Assistance Program) or housing
         subsidies. Specify:                                                    $0                $0
   8g. Pension or retirement income                                             $0                $0
   8h. Other monthly income. Specify:                                           $0                $0
 9. Add all other income. Add lines 8a to 8h.                                   $0                $0
10. Calculate monthly income. Add lines 7 and 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.      $4,039.42         $0                  = $4,039.42
11. State all other regular contributions to the expenses that you list in in Schedule J.
Include all contributions from an unmarried partner, members of your household, your dependents, your roommates,
andother friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in
Schedule J. Specify:                                                                                                    $0
12. Add the amount in the last column of line 10 to the amount in line 11. This result is the combined
monthly income. Write the amount of the Summary of Schedules and Statistical Summary of Certain Liabilities
and Related Data, if it applies.                                                                                        $4,039.42
                                                                                                                      Combined
                                                                                                                      monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        X        No
                 Yes. Explain:




Form B 6I                                            Schedule I - Your Income                                      page 2
                Case 15-14777          Doc 1       Filed 04/27/15 Entered 04/27/15 10:46:36                          Desc Main
B6J (Official Form 6J) (12/13)
                                                    Document     Page 31 of 52
Debtor 1        Ida R. Payne                                                            Check if this is:
Debtor 2                                                                                                    An amended filing
United States Bankruptcy Court for the Northern District of Illinois                                        A supplement showing
Case No.                                                                                                    post-petition Chapter 13
                (if known)                                                                                  expenses as of the following date:

                                                                                                            mm/dd/yyyy
                                                                                                            A separate filing for Debtor 2
                                                                                                            because Debtor 2 maintains a
                                                                                                            separate household.
                                               SCHEDULE J - YOUR EXPENSES
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional page, write your name and case
number (if known). Answer every question.
PART 1: Describe Your Household
1. Is this a joint case?
         X          No. Go to line 2.
                    Yes. Does Debtor 2 live in a separate household?
                                       No
                                       Yes. Debtor 2 must file a separate Schedule J.
2. Do you have dependents?                     No                                   Dependent’s relationship Dependent’s Does Dependent
   Do not list Debtor 1 and           X        Yes. Fill out this information for to Debtor 1 or Debtor 2       Age       live with you?
   Debtor 2.                                         each dependent……………
   Do not state the dependents’ names.                                              Son                        17         Yes




3. Do your expenses include expenses of people other than
   yourself and your dependents? X         No
                                           Yes

PART 2: Give Details About Monthly Income
Estimate your expenses as of your bankruptcy filing date, unless you are using this form as a supplement in a Chapter 13 case to
report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form
and
fill in the applicable date.

Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on your Schedule I: Your Income (Official Form B 6I.)                        Your Expenses

4. The rental or home ownership expenses for your residence.
   Include first mortgage payments and any rent for the ground or lot.                                      4.       $950.00
        If not included in line 4:
        4a.       Real estate taxes                                                                         4a.      $0
        4b.       Property, homeowner’s, or renter’s insurance                                              4b.      $0
        4c.       Home maintenance, repair, and upkeep expenses                                             4c.      $0
        4d.       Homeowner’s association or condominium dues                                               4d.      $0

5. Additional mortgage payments for your residence, such as home equity loans                               5.       $0

6. Utilities:
         6a.        Electricity, heat, natural gas                                                          6a.      $300.00
         6b.        Water, sewer, garbage collection                                                        6b.      $0
         6c.        Telephone, cell phone, internet, satellite, and cable services                          6c.      $275.00
         6d.        Other. Specify:                                                                         6d.      $0

Form B 6J                                                  Schedule J - Your Expenses                                          page 1
            Case 15-14777            Doc 1      Filed 04/27/15 Entered 04/27/15 10:46:36                Desc Main
                                                 Document     Page 32 of 52
Debtor 1          Ida R. Payne
Debtor 2                                                        Case No.
                                                                                    (if known)
                                           SCHEDULE J - YOUR EXPENSES
                                                   (continued)
                                                                                                        Your Expenses

7. Food and housekeeping supplies                                                                7.     $650.00

8. Childcare and children’s education costs                                                      8.     $0

9. Clothing, laundry, and dry cleaning                                                           9.     $175.00

10. Personal care products and services                                                          10.    $125.00

11. Medical and dental expenses                                                                  11.    $93.00

12. Transportation. Include gas, maintenance, bus or train fare. Do not include car payments.    12.    $500.00

13. Entertainment, clubs, recreation, newspapers, magazines, and books.                          13.    $92.00

14. Charitable contributions and religious donations                                             14.    $60.00

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.
        15a.      Life Insurance                                                                 15a.   $0
        15b.      Health Insurance                                                               15b.   $0
        15c.      Vehicle Insurance                                                              15c.   $83.33
        15d.      Other Insurance. Specify:                                                      15d.   $0

16. Taxes. Do not include taxes deducted from your pay or included in 4 or 20.
    Specify:                                                                                     16.    $0

17. Installment or lease payments:
         17a.    Car payments for Vehicle 1                                                      17a.   $497.64
         17b.    Car payments for Vehicle 2                                                      17b.   $0
         17c.    Other. Specify:                                                                 17c.   $0
         17d.    Other. Specify:                                                                 17d.   $0

18. Your payments of alimony, maintenance, and support that you did not report as deducted
    from your pay on Line 5, Schedule I: Your Income (Official Form B 6I).                       18.    $0

19. Other payments you make to support others who do not live with you.
    Specify:                                                                                     19.    $0

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
        20a.     Mortgages on other property                                                     20a.   $0
        20b.     Real estate taxes                                                               20b.   $0
        20c.     Property, homeowner’s, or renter’s insurance                                    20c.   $0
        20d.     Maintenance, repair, and upkeep expenses                                        20d.   $0
        20e.     Homeowner’s association or condominium dues                                     20e.   $0

21. Other. Specify:                                                                              21.    $0

22. Your monthly expenses. Add lines 4 to 21. The result is your monthly expenses.               22.    $3,800.97

Form B 6J                                              Schedule J - Your Expenses                                 page 2
            Case 15-14777            Doc 1      Filed 04/27/15 Entered 04/27/15 10:46:36                       Desc Main
Debtor 1          Ida R. Payne                   Document     Page 33 of 52
Debtor 2                                                        Case No.
                                                                                    (if known)

                                          SCHEDULE J - YOUR EXPENSES
                                                  (continued)

23. Calculate your monthly net income.
        23a.     Copy line 12 (your combined monthly income) from Schedule I.                        23a.     $4,039.42
        23b.     Copy our monthly expenses from line 22 above                                        23b.     $3,800.97
        23c.     Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                              23c.     $238.45

24. Do you expect an increase or decrease in your expenses within the year after you
    file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or
    decrease because of a modification to the terms of your mortgage?     X           No               Yes

         Explain here:




Form B 6J                                              Schedule J - Your Expenses                                       page 3
                 Case 15-14777                 Doc 1          Filed 04/27/15 Entered 04/27/15 10:46:36                                      Desc Main
                                                               Document     Page 34 of 52

B6 (Official Form 6 - Declaration) (12/07)

    In re Ida R. Payne, Debtor(s)                        Case No._ _ _ _ _ _ _ _ __


                                   DECLARATION CONCERNING DEBTOR'S SCHEDULES
                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


 I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
 of my knowledge, information, and belief.
                                                                                                           J..5'    sheets, and that they are true and correct to the best




Date    ~3-/--"="-27~/JS~
             '   T
                                            ___________(k______C}6____rLLfvVL_~==--------
                          _ _ _Signature: _J~L
                                                                                            DEBTOR                              -,--



                                                                                            JOINT DEBTOR, if any
                                                                                [If joint case, both spouses must sign.)


                  DECLARATION AND SIGNATIJRE OF NON-AITORNEY BANKRUPTCY PETITION PREPARER (See 11U.S.C.§110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11U.S.C.§110; (2) I prepared this document for compensation and have
provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ llO(b), l IO(h) and 342(b); and, (3) if rules or guidelines
have been promulgated pursuant to 11 U.S.C. § 11 O(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of
the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.



Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                                        Social Security No.
                                                                                                                           (Required by 11 U.S.C. § 110)

lf the bankruptcy petition preparer is not an individual, state the name, title (ifany), address, and social security number ofthe officer, principal, responsible person, or
partner who signs this document.




Address

x,~--------------------------~
  Signature of Bankruptcy Petition Preparer                                                                        Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an
individual:

lf more than one person prepared this document, attach additional signed sheets coriforming to the appropriate Official Form for each person.
A bankruptcy petition preparer 's failure to comply with the provisions of title 11 and the Federal Rules ofBankruptcy Procedure may result in fines or imprisonment or
both 11 U.S.C. § 110; 18 U.S.C. § 156.


                        DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

  I, t h e - - - - - - - - - - - - - - - - [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of
the partnership) of the                                             [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I
have read the foregoing summary and schedules, consisting of                                         sheets (total shown on summary page plus 1.), and that they are
true and correct to the best of my knowledge, information, and belief




                                                                                            [Print or type name of individual signing on behalf of debtor.]

                            [An individual signing on behalf ofa partnership or corporation must indicate position or relationship to debtor.]

Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
             Case 15-14777                  Doc 1       Filed 04/27/15 Entered 04/27/15 10:46:36                      Desc Main
                                                         Document     Page 35 of 52
                                                                                                                                            1

B7 (Official Form 7) (4/10)


                                        UNITED STATES BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF ILLINOIS
      In re: Ida R. Payne                             , Debtor

                                                  STATEMENT OF FINANCIAL AFFAIRS
         This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual’s personal
affairs. To indicate payments, transfers and the like to minor children, state the child’s initials and the name and address of the
child’s parent or guardian, such as “A.B., a minor child, by John Doe, guardian”. Do not disclose the child’s name. See, 11
U.S.C. § 112, Fed. R. Bankr. P. 1007(m).

         Question 1 – 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 – 25. If the answer to an applicable question is “None,” mark the box labeled “None.” If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case
name, case number (if known), and the number of the question.

                                                                   DEFINITIONS
          “In business.” A debtor is “in business” for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is “in business” for the purpose of this form if the debtor is or has been, within the six years immediately
preceding the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5
percent or more of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a
sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor’s primary employment.

          “Insider.” The term “insider” includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


                              1. Income from employment or operation of business

[ ] None                      State the gross amount of income the debtor has received from employment, trade, or profession, or from
                              operation of the debtor’s business, including part-time activities either as an employee or in independent trade
                              or business, from the beginning of this calendar year to the date this case was commenced. State also the
                              gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                              maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report
                              fiscal year income. Identify the beginning and ending dates of the debtor’s fiscal year.) If a joint petition is
                              filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
                              state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                              joint petition is not filed.)

                              AMOUNT                                                          SOURCE (if more than one)
                              2015 - $15,530.08                                               work
                              2014 - $53,865.00                                               work
                              2013 - $53,096.00                                               work
       Case 15-14777           Doc 1       Filed 04/27/15 Entered 04/27/15 10:46:36                        Desc Main
                                            Document     Page 36 of 52
                                                                                                                                  2



                2. Income other than from employment or operation of business

[X] None        State the amount of income received by the debtor other than from employment, trade, profession, or
                operation of the debtor’s business during the two years immediately preceding the commencement of this
                case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors
                filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is
                filed, unless the spouses are separated and a joint petition is not filed.)

                AMOUNT                                                            SOURCE


____________________________________________________________________________________________________

                3. Payments to creditors

                Complete a. or b., as appropriate, and c.

[ ] None        a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment
                purchases of goods or services, and other debts to any creditor, made within 90 days immediately preceding
                the commencement of this case if the aggregate value of all property that constitutes or is affected by such
                transfer is not less that $600. Indicate with an asterisk (*) any payments that were made to a creditor on
                account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an
                approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or
                chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the
                spouses are separated and a joint petition is not filed.)

         NAME AND ADDRESS                            DATES OF                    AMOUNT                       AMOUNT
             OF CREDITOR                             PAYMENTS                    PAID                         STILL OWING
Pelican Auto Finance                                 monthly                     $497.64                      $12,500.00
PO Box 80496
City of Industry, CA 91716-8404




[X] None        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor
                made within 90 days immediately preceding the commencement of the case if the aggregate value of all
                property that constitutes or is affected by such transfer is not less than $5,475. If the debtor is an individual,
                indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting
                and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments
                and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are
                separated and a joint petition is not filed.)

        NAME AND ADDRESS                             DATES OF                     AMOUNT                      AMOUNT
           OF CREDITOR                               PAYMENTS/                    PAID OR                     STILL OWING
                                                     TRANSFERS                    VALUE OF
                                                                                  TRANSFERS
       Case 15-14777          Doc 1      Filed 04/27/15 Entered 04/27/15 10:46:36                        Desc Main
                                          Document     Page 37 of 52
                                                                                                                               3



[X] None       c. All debtors: List all payments made within one year immediately preceding the commencement of this
               case to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or
               chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR                        DATE OF                     AMOUNT                      AMOUNT
AND RELATIONSHIP TO DEBTOR                          PAYMENT                     PAID                        STILL OWING




               4. Suits and administrative proceedings, executions, garnishments and attachments
[ ] None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year
               immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter
               13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
               the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                                                       COURT OR AGENCY                     STATUS OR
AND CASE NUMBER                  NATURE OF PROCEEDING                 AND LOCATION                        DISPOSITION
City of Chicago                  Registration of Administrative       Circuit Court of                     Citation
Vs                               Judgment                             Cook County, IL                      Retd PS
Ida Payne                                                                                                  1/24/2014
2013 M1 680571


[X] None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process
               within one year immediately preceding the commencement of this case. (Married debtors filing under
               chapter 12 or chapter 13 must include information concerning property of either or both spouses whether or
               not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS                                                                         DESCRIPTIOIN
OF PERSON FOR WHOSE                                 DATE OF                              AND VALUE OF
BENEFIT PROPERTY WAS SEIZED                         SEIZURE                              PROPERTY



               5. Repossessions, foreclosures and returns

[ ] None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed
               in lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
               a joint petition is not filed.)

                                          DATE OF REPOSSESSION,                          DESCRIPTION
NAME AND ADDRESS                          FORECLOSURE SALE,                              AND VALUE OF
OF CREDITOR OR SELLER                     TRANSFER OR RETURN                             PROPERTY

Total Finance                             Surrendered 2/2014                             2006 Ford Freestyle
2917 W. Irving Park                                                                      $5,675.00
Chicago, IL 60618
       Case 15-14777       Doc 1      Filed 04/27/15 Entered 04/27/15 10:46:36                      Desc Main
                                       Document     Page 38 of 52
                                                                                                                             4
            6.   Assignments and receiverships

[X] None    a. Describe any assignment of property for the benefit of creditors made within 120 days immediately
            preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
            include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses
            are separated and a joint petition is not filed.)

                                                                                     TERMS OF
NAME AND ADDRESS                                DATE OF                              ASSIGNMENT
OF ASSIGNEE                                     ASSIGNMENT                           OR SETTLEMENT




[X] None    b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within
            one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
            chapter 13 must include information concerning property of either or both spouses whether or not a joint
            petition is filed, unless the spouses are separated and a joint petition is not filed.)

                              NAME AND LOCATION                                               DESCRIPTION
NAME AND ADDRESS              OF COURT                             DATE OF                    AND VALUE OF
OF CUSTODIAN                  CASE TITLE & NUMBER                  ORDER                      PROPERTY




            7. Gifts

[X] None    List all gifts or charitable contributions made within one year immediately preceding the commencement of
            this case except ordinary and usual gifts to family members aggregating less than $200 in value per
            individual family member and charitable contributions aggregating less than $100 per recipient. (Married
            debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses
            whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS              RELATIONSHIP                                                    DESCRIPTION
OF PERSON                     TO DEBTOR,                           DATE                       AND VALUE
OR ORGANIZATION               IF ANY                               OF GIFT                    OF GIFT




            8. Losses

[X] None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
            commencement of this case or since the commencement of this case:. (Married debtors filing under chapter
            12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless
            the spouses are separated and a joint petition is not filed.)

DESCRIPTION            DESCRIPTION OF CIRCUMSTANCES AND, IF
AND VALUE OF           LOSS WAS COVERED IN WHOLE OR IN PART                                   DATE OF
PROPERTY               BY INSURANCE, GIVE PARTICULARS                                         LOSS
        Case 15-14777           Doc 1      Filed 04/27/15 Entered 04/27/15 10:46:36                      Desc Main
                                            Document     Page 39 of 52
                                                                                                                                  5
                 9. Payments related to debt counseling or bankruptcy

[ ] None         List all payments made or property transferred by or on behalf of the debtor to any persons, including
                 attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
                 petition in bankruptcy within one year immediately preceding the commencement of this case.

                                            DATE OF PAYMENT,                    AMOUNT OF MONEY OR
NAME AND ADDRESS                            NAME OF PAYER IF                    DESCRIPTION AND VALUE
OF PAYEE                                    OTHER THAN DEBTOR                   OF PROPERTY

Law Offices of Martin J. O’Hearn            2/3/2014                            $500.00 (prior case 14 B 14875)
10047 South Western                         6/30/2014                           $364.71 (prior case 14 B 14875)
Chicago, IL 60643                           11/15/2014                          $310.00 for new case
                                            3/27/2015                           $190.00 for new case



                 10. Other transfers

[X] None    a. List all property, other than property transferred in the ordinary course of the business or financial affairs
            of the debtor, transferred either absolutely or as security within two years immediately preceding the
            commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
            either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
            petition is not filed.)
                                                                                        DESCRIBE PROPERTY
NAME AND ADDRESS OF TRANSFEREE,                                                         TRANSFERRED
RELATIONSHIP TO DEBTOR                                      DATE                        AND VALUE RECEIVED




[X] None         b. List all property transferred by the debtor within ten years immediately preceding the commencement of
                 this case to a self-settled trust or similar device of which the debtor is a beneficiary.

NAME OF TURST OR OTHER                      DATE(S) OF                 AMOUNT OF MONEY OR DESCRIPTION
DEVICE                                      TRANSFER(S)                AND VALUE OF PROPERTY OR DEBTOR’S
                                                                       INTEREST IN PROPERTY




                 11. Closed financial accounts

[X] None         List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor
                 which were closed, sold, or otherwise transferred within one year immediately preceding the commencement
                 of this case. Include checking, savings, or other financial accounts, certificates of deposit, or other
                 instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                 brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13
                 must include information concerning accounts or instruments held by or for either or both spouses whether or
                 not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                            TYPE OF ACCOUNT, LAST FOUR                            AMOUNT AND
NAME AND ADDRESS                            DIGITS OF ACCOUNT NUMBER,                             DATE OF SALE
OF INSTITUTION                              AND AMOUNT OF FINAL BALANCE                           OR CLOSING
       Case 15-14777       Doc 1      Filed 04/27/15 Entered 04/27/15 10:46:36                       Desc Main
                                       Document     Page 40 of 52
                                                                                                                              6

            12. Safe deposit boxes

[X] None    List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
            valuables within one year immediately preceding the commencement of this case. (Married debtors filing
            under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
            joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS              NAMES AND ADDRESSES                  DESCRIPTION                DATE OF TRANSFER
OF BANK OR                    OF THOSE WITH ACCESS                 OF                         OR SURRENDER,
OTHER DEPOSITORY              TO BOX OR DEPOSITORY                 CONTENTS                   IF ANY




            13. Setoffs

[X] None    List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
            preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
            include information concerning either or both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

                                                                   DATE OF                    AMOUNT OF
NAME AND ADDRESS OF CREDITOR                                       SETOFF                     SETOFF



            14. Property held for another person

[X] None    List all property owned by another person that the debtor holds or controls.

NAME AND ADDRESS                       DESCRIPTION AND VALUE
OF OWNER                               OF PROPERTY                                   LOCATION OF PROPERTY



            15. Prior address of debtor

[ ] None    If debtor has moved within three years immediately preceding the commencement of this case, list all
            premises which the debtor occupied during that period and vacated prior to the commencement of this case.
            If a joint petition is filed, report also any separate address of either spouse.

            ADDRESS                             NAME USED                            DATES OF OCCUPANCY
            333 Sherman Avenue                  Ida Payne                            until 10/31/2014
            Evanston, IL 60202

            6240 North Talman, #G               Ida Payne                            until 8/2014
            Chicago, IL 60659

            5042 North Lawndale Avenue          Ida Payne                            until 4/2014
            2nd Floor
            Chicago, IL 60625

            3318 W. Lawrence Ave                Ida Payne                            until 10/2013
            Chicago, IL 60625

            8413 Monticello Ave                 Ida Payne                            until 6/2012
            Skokie, IL 60076
       Case 15-14777         Doc 1      Filed 04/27/15 Entered 04/27/15 10:46:36                       Desc Main
                                         Document     Page 41 of 52
                                                                                                                               7




              16. Spouses and Former Spouses

[X] None      If the debtor resides or resided in a community property state, commonwealth, or territory, (including Alaska,
              Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
              within eight years immediately preceding the commencement of the case, identify the name of the debtor’s
              spouse and of any former spouse who resides or resided with the debtor in the community property state.

              NAME




              17. Environmental Information

              For the purpose of this question, the following definitions apply:

              “Environmental Law” means any federal, state, or local statute or regulation regulating pollution,
              contamination, releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface
              water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
              cleanup of these substances, wastes, or material.

              “Site” means any location, facility, or property as defined under any Environmental law, whether or not
              presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

              “Hazardous Material” means anything defined as a hazardous waster, hazardous substance, toxic substance,
              hazardous material, pollutant, or contaminant or similar term under an Environmental Law.


[X] None      a. List the name and address of every site for which the debtor has received notice in writing by a
              governmental unit that may be liable or potentially liable under or in violation of an Environmental Law.
              Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law.

SITE NAME              NAME AND ADDRESS                              DATE OF                     ENVIRONMENTAL
AND ADDRESS            OF GOVERNMENTAL UNIT                          NOTICE                      LAW




[X] None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a
              release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of
              the notice.

SITE NAME              NAME AND ADDRESS                              DATE OF                     ENVIRONMENTAL
AND ADDRESS            OF GOVERNMENTAL UNIT                          NOTICE                      LAW




[X] None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental
              law with respect to which the debtor is or was a party. Indicate the name and address of the governmental
              unit that is or was a party to the proceeding, and the docket number.

NAME AND ADDRESS                                   DOCKET NUMBER                                 STATUS OR
OF GOVERNMENTAL UNIT                                                                             DISPOSITION
         Case 15-14777            Doc 1      Filed 04/27/15 Entered 04/27/15 10:46:36                        Desc Main
                                              Document     Page 42 of 52
                                                                                                                                    8




                  18. Nature, location and name of business

[X] None          a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                  businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
                  partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was self-
                  employed in a trade, profession, or other activity either full- or part-time within six years immediately
                  preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
                  equity securities within the six years immediately preceding the commencement of this case, or in which the
                  debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the
                  commencement of this case.

                     If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the
                  businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                  percent or more of the voting or equity securities, within the six years immediately preceding the
                  commencement of this case.

                     If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                  businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                  percent or more of the voting or equity securities within the six years immediately preceding the
                  commencement of this case.


                  LAST FOUR DIGITS
                  OF SOC. SEC. NO./
                  COMPLETE EIN OR                                          NATURE OF         BEGINNING AND ENDING
NAME              OTHER TAXPAYER I.D. NO.               ADDRESS            BUSINESS          DATES




[X] None          b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined
                  in 11 U.S.C. § 101.

                  NAME                                                     ADDRESS




          The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within the six years immediately preceding the commencement of this case, any of the following:
an officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed in a trade, profession or other activity,
either full- or part-time.

         (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within the six years immediately preceding the commencement of this case. A debtor who has not
been in business within those six years should go directly to the signature page.)
       Case 15-14777         Doc 1      Filed 04/27/15 Entered 04/27/15 10:46:36                       Desc Main
                                         Document     Page 43 of 52
                                                                                                                             9




              19. Books, records and financial statements

[X] None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
              bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

       NAME AND ADDRESS                                              DATES SERVICES RENDERED




[X] None      b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy
              case have audited the books of account and records, or prepared a financial statement of the debtor.

       NAME                              ADDRESS                              DATES SERVICES RENDERED




[X] None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the
              books of account and records of the debtor. If any of the books of account and records are not available,
              explain.

              NAME                                                   ADDRESS




[X] None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom
              a financial statement was issued within the two years immediately preceding the commencement of this case.

              NAME AND ADDRESS                                                          DATE ISSUED




              20. Inventories

[X] None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
              taking of each inventory, and the dollar amount and basis of each inventory.

                                                                              DOLLAR AMOUNT OF INVENTORY
DATE OF INVENTORY               INVENTORY SUPERVISOR                          (Specify cost, market or other basis)




[X] None      b. List the name and address of the person having possession of the records of each of the inventories
              reported in a., above.

                                                            NAME AND ADDRESSES OF CUSTODIAN
              DATE OF INVENTORY                                   OF INVENTORY RECORDS
       Case 15-14777         Doc 1       Filed 04/27/15 Entered 04/27/15 10:46:36                        Desc Main
                                          Document     Page 44 of 52
                                                                                                                                10



              21. Current Partners, Officers, Directors and Shareholders

[X] None      a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
              partnership.

       NAME AND ADDRESS                   NATURE OF INTEREST                    PERCENTAGE OF INTEREST




[X] None      b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
              directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
              corporation.

                                                                                NATURE AND PERCENTAGE
       NAME AND ADDRESS                             TITLE                        OF STOCK OWNERSHIP




              22. Former partners, officers, directors and shareholders

[X] None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year
              immediately preceding the commencement of this case.

       NAME                                         ADDRESS                               DATE OF WITHDRAWAL




[X] None      b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation
              terminated within one year immediately preceding the commencement of this case.

       NAME AND ADDRESS                                      TITLE                        DATE OF TERMINATION




              23. Withdrawals from a partnership or distributions by a corporation

[X] None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an
              insider, including compensation in any form, bonuses, loans, stock redemptions, options exercised and any
              other perquisite during one year immediately preceding the commencement of this case.


       NAME AND ADDRESS                                                                   AMOUNT OF MONEY
       OF RECIPIENT,                                DATE AND PURPOSE                      OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                       OF WITHDRAWAL                         AND VALUE OF PROPERTY
       Case 15-14777       Doc 1      Filed 04/27/15 Entered 04/27/15 10:46:36                      Desc Main
                                       Document     Page 45 of 52
                                                                                                                        11



             24. Tax Consolidation Group

[X] None     If the debtor is a corporation, list the name and federal taxpayer identification number of the parent
             corporation of any consolidated group for tax purposes of which the debtor has been a member at any time
             within six years immediately preceding the commencement of the case.

       NAME OF PARENT CORPORATION                         TAXPAYER IDENTIFICATION NUMBER (EIN)




             25. Pension Funds

[X] None     If the debtor is not an individual, list the name and federal taxpayer identification number of any pension
             fund to which the debtor, as an employer, has been responsible for contributing at any time within six years
             immediately preceding the commencement of the case.

       NAME OF PENSION FUND                               TAXPAYER IDENTIFICATION NUMBER (EIN)




                                                     ******
             Case 15-14777                      Doc 1     Filed 04/27/15 Entered 04/27/15 10:46:36                                       Desc Main
                                                           Document     Page 46 of 52
                                                                                                                                                                     12

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Date~~~~~~~~~~~~~




                                                                     Print Name in! Title




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               DECLARATION AND SIGNATURE OF NON-ATIORNEY BANKRUPTCY PETIDON PREPARER (See 11 U.S.C. §110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110: (2) I prepared this document for compensation
and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ l lO(b), l lO(h), and 342(b); and, (3) if
rules or guidelines have been promulgated pursuant to 11 U .S.C. § 11 O(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I
have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor. as required by
that section.



Printed or Typed name and Title, if any, of Bankruptcy Petition Preparer                                Social Security No. (Required by 11 U.S.C. § 110)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number ofthe office, principal, responsible
person, or partner who signs this document.




Address



Signature of Bankruptcy Petition Preparer                                                                           Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is not
an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions oftitle 11 and the Federal Rules ofBankruptcy Procedure may result in fines or
imprisonment or both. 18U.S.C§156.
               Case 15-14777                     Doc 1           Filed 04/27/15 Entered 04/27/15 10:46:36                          Desc Main
                                                                  Document     Page 47 of 52



                                                   United States Bankruptcy Court
                                                             Northern District of Illinois

     In re Ida R. Payne, Debtor

                                                                                                    Case No._________________

                                                                                                    Chapter_____13___________



                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR


1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and that
   compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or
   to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

   For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $4,000.00

   Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . $500.00

   Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $3,500.00


2. The source of the compensation paid to me was:

             [X] Debtor                         [ ] Other (specify)


3. The source of compensation to be paid to me is:

             [X] Debtor                         [ ] Other (specify)


4. [X] I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
        firm.

  [ ] I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my law
      firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
      bankruptcy;

   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
             Case 15-14777            Doc 1      Filed 04/27/15 Entered 04/27/15 10:46:36                   Desc Main
                                                  Document     Page 48 of 52



                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)



   d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

   e. [Other provisions as needed]



6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
                 I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me
                 for representation of the debtor(s) in this bankruptcy proceeding.




                  3/27/2015                                      /s/ Martin J. O’Hearn
                  Date                                           Signature of Attorney
                                                                 The Law Offices of Martin J. O’Hearn_
                                                                 10047 South Western Avenue, Chicago, IL 60643
                                                                 (773) 238-4400 Atty Reg# 6185904
Case 15-14777   Doc 1   Filed 04/27/15 Entered 04/27/15 10:46:36   Desc Main
                         Document     Page 49 of 52
Case 15-14777   Doc 1   Filed 04/27/15 Entered 04/27/15 10:46:36   Desc Main
                         Document     Page 50 of 52
Case 15-14777   Doc 1   Filed 04/27/15 Entered 04/27/15 10:46:36   Desc Main
                         Document     Page 51 of 52
Case 15-14777   Doc 1   Filed 04/27/15 Entered 04/27/15 10:46:36   Desc Main
                         Document     Page 52 of 52
